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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
Glenn Williams, et al.,                 )
                                        )
                     Plaintiffs         )
                                        ) No. 20-cv-420
                  -vs-                  )
                                        ) (Judge Kendall)
City of Chicago, et al.,                )
                                        )
                     Defendants.        )
                PLAINTIFFS’ RESPONSE TO MOTIONS TO DISMISS
                (ECF Nos. 108, 136, 137, 139, 141, 143, 145, and 147)
      NOW COME, plaintiffs, by and through undersigned counsels, and respond to

 the multiple defendants’ motions to dismiss pending before the Court as ECF Nos.

 136, 137, 139, 141, 143, 145, and 147, plaintiffs state that as of this time, they do not

 oppose dismissal (without prejudice) of all federal claims against all defendants other

 than the City of Chicago. Plaintiffs request that the Court decline to exercise

 jurisdiction over all state law claims advanced against all defendants other than the

 City of Chicago. In the alternative, plaintiffs request that the Court grant them leave

 to file a second amended complaint to restate the state law claims against these

 defendants in a more concise manner than in the operative complaint.

      As to the motion to dismiss filed by defendant City of Chicago (ECF No. 108),

 plaintiffs respectfully request 28 days to file a second amended complaint, naming

 the City of Chicago as the sole defendant and providing a short and plain statement of

 the Court’s jurisdiction and the claims advanced by plaintiffs.

      Grounds for this request are based upon that the operative complaint is unclear

 about the nature of plaintiffs’ federal claims and the parties against whom those

 claims are asserted. An amended complaint will assist the Court and the parties in
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    addressing the issues presented in this case. Plaintiffs respectfully submit that the

    time and effort that will be saved by proceeding on a streamlined complaint against a

    single defendant will outweigh the 28 days plaintiffs request to prepare and file the

    second amended complaint.

                                             Respectfully submitted1,

                                        /s/ Robert A. Holstein
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 This memorandum was prepared by attorney Kenneth N. Flaxman, whose motion for leave to
appear for plaintiffs is pending.

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